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   9                      UNITED STATES DISTRICT COURT
  10                    CENTRAL DISTRICT OF CALIFORNIA
  11
       ANTHONY AHN BY AND THROUGH )           Case No. 8:21-cv-01092-CJC-ADS
  12   HIS GUARDIAN JAMIE HONG,    )
  13                               )          [Assigned to Hon. Cormac J. Carney]
                Plaintiff,         )
  14                               )          [Discovery Document: Referred to
            v.                                Magistrate Judge Autumn D. Spaeth]
                                   )
  15
       BANK OF AMERICA, N.A.;      )
  16   CITIBANK, N.A.; CAPITAL ONE )          STIPULATED PROTECTIVE
       BANK (USA) N.A.; DISCOVER   )          ORDER
  17   BANK; JHPDE FINANCE I, LLC; )
  18   AND, EXPERIAN INFORMATION   )
       SOLUTIONS, INC.,                       Action Filed: June 23, 2021
                                   )
  19                               )
                Defendants.
                                   )
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  21                               )
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                                                          STIPULATED PROTECTIVE ORDER
                                                             Case No. 8:21-CV-01092-CJC-ADS
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   1   1.      A.    PURPOSES AND LIMITATIONS
   2           Discovery in this action is likely to involve production of confidential,
   3   proprietary, or private, financial information for which special protection from public
   4   disclosure and from use for any purpose other than prosecuting this litigation may be
   5   warranted. Accordingly, the parties hereby stipulate to and petition the Court to
   6   enter the following Stipulated Protective Order. The parties acknowledge that this
   7   Order does not confer blanket protections on all disclosures or responses to discovery
   8   and that the protection it affords from public disclosure and use extends only to the
   9   limited information or items that are entitled to confidential treatment under the
  10   applicable legal principles. The parties further acknowledge, as set forth in Section
  11   12.3, below, that this Stipulated Protective Order does not entitle them to file
  12   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
  13   that must be followed and the standards that will be applied when a party seeks
  14   permission from the court to file material under seal.
  15           B.    GOOD CAUSE STATEMENT
  16           This action is likely to involve private, financial information and confidential
  17   records and other valuable research, development, commercial, financial, technical
  18   and/or proprietary information for which special protection from public disclosure
  19   and from use for any purpose other than prosecution of this action is warranted.
  20   Such confidential and proprietary materials and information consist of, among other
  21   things, confidential business or financial information, information regarding
  22   confidential business practices, or commercial information (including information
  23   implicating privacy rights of third parties), information otherwise generally
  24   unavailable to the public, or which may be privileged or otherwise protected from
  25   disclosure under state or federal statutes, court rules, case decisions, or common law.
  26   Accordingly, to expedite the flow of information, to facilitate the prompt resolution
  27   of disputes over confidentiality of discovery materials, to adequately protect
  28   information the parties are entitled to keep confidential, to ensure that the parties are
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   1   permitted reasonable necessary uses of such material in preparation for and in the
   2   conduct of trial, to address their handling at the end of the litigation, and serve the
   3   ends of justice, a protective order for such information is justified in this matter. It is
   4   the intent of the parties that information will not be designated as confidential for
   5   tactical reasons and that nothing be so designated without a good faith belief that it
   6   has been maintained in a confidential, non-public manner, and there is good cause
   7   why it should not be part of the public record of this case.
   8   2.      DEFINITIONS
   9           2.1   Action: this pending federal law suit, captioned Anthony Ahn By And
  10   Through His Guardian Jamie Hong v. Bank of American, N.A., et al., Case No. 8:20-
  11   cv-01092-CJC-ADS.
  12           2.2   Challenging Party: a Party or Non-Party that challenges the designation
  13   of information or items under this Order.
  14           2.3   “CONFIDENTIAL” Information or Items: information (regardless of
  15   how it is generated, stored or maintained) or tangible things that qualify for
  16   protection under Federal Rule of Civil Procedure 26(c), and as specified above in the
  17   Good Cause Statement.
  18           2.4   Counsel: Outside Counsel of Record and House Counsel (as well as
  19   their support staff).
  20           2.5   Designating Party: a Party or Non-Party that designates information or
  21   items that it produces in disclosures or in responses to discovery as
  22   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  23   ONLY.”
  24           2.6   Disclosure or Discovery Material: all items or information, regardless
  25   of the medium or manner in which it is generated, stored, or maintained (including,
  26   among other things, testimony, transcripts, and tangible things), that are produced or
  27   generated in disclosures or responses to discovery in this matter.
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   1           2.7   Expert: a person with specialized knowledge or experience in a matter
   2   pertinent to the litigation who has been retained by a Party or its counsel to serve as
   3   an expert witness or as a consultant in this Action.
   4           2.8   “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”
   5   Information or Items: extremely sensitive and/or proprietary “CONFIDENTIAL”
   6   Information or Items, the disclosure of which to another Party or Non-Party would
   7   create a substantial risk of serious harm that could not be avoided by less restrictive
   8   means.
   9           2.9   House Counsel: attorneys who are employees of a party to this Action.
  10   House Counsel does not include Outside Counsel of Record or any other outside
  11   counsel.
  12           2.10 Non-Party: any natural person, partnership, corporation, association, or
  13   other legal entity not named as a Party to this action.
  14           2.11 Outside Counsel of Record: attorneys who are not employees of a party
  15   to this Action but are retained to represent or advise a party to this Action and have
  16   appeared in this Action on behalf of that party or are affiliated with a law firm which
  17   has appeared on behalf of that party, and includes support staff.
  18           2.12 Party: any party to this Action, including all of its officers, directors,
  19   employees, consultants, retained experts, and Outside Counsel of Record (and their
  20   support staffs).
  21           2.13 Producing Party: a Party or Non-Party that produces Disclosure or
  22   Discovery Material in this Action.
  23           2.14 Professional Vendors: persons or entities that provide litigation support
  24   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  25   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  26   and their employees and subcontractors.
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   1           2.15 Protected Material: any Disclosure or Discovery Material that is
   2   designated as “CONFIDENTIAL” ” or “HIGHLY CONFIDENTIAL --
   3   ATTORNEYS’ EYES ONLY.”
   4           2.16 Receiving Party: a Party that receives Disclosure or Discovery Material
   5   from a Producing Party.
   6   3.      SCOPE
   7           The protections conferred by this Stipulation and Order cover not only
   8   Protected Material (as defined above), but also (1) any information copied or
   9   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  10   compilations of Protected Material; and (3) any testimony, conversations, or
  11   presentations by Parties or their Counsel that might reveal Protected Material.
  12           Any use of Protected Material at trial shall be governed by the orders of the
  13   trial judge. This Order does not govern the use of Protected Material at trial.
  14   4.      DURATION
  15           Even after final disposition of this litigation, the confidentiality obligations
  16   imposed by this Order shall remain in effect until a Designating Party agrees
  17   otherwise in writing or a court order otherwise directs. Final disposition shall be
  18   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  19   or without prejudice; and (2) final judgment herein after the completion and
  20   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  21   including the time limits for filing any motions or applications for extension of time
  22   pursuant to applicable law.
  23   5.      DESIGNATING PROTECTED MATERIAL
  24           5.1   Exercise of Restraint and Care in Designating Material for Protection.
  25   Each Party or Non-Party that designates information or items for protection under
  26   this Order must take care to limit any such designation to specific material that
  27   qualifies under the appropriate standards. The Designating Party must designate for
  28   protection only those parts of material, documents, items, or oral or written
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   1   communications that qualify so that other portions of the material, documents, items,
   2   or communications for which protection is not warranted are not swept unjustifiably
   3   within the ambit of this Order.
   4           Mass, indiscriminate, or routinized designations are prohibited. Designations
   5   that are shown to be clearly unjustified or that have been made for an improper
   6   purpose (e.g., to unnecessarily encumber the case development process or to impose
   7   unnecessary expenses and burdens on other parties) may expose the Designating
   8   Party to sanctions.
   9           If it comes to a Designating Party’s attention that information or items that it
  10   designated for protection do not qualify for protection, that Designating Party must
  11   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  12           5.2   Manner and Timing of Designations. Except as otherwise provided in
  13   this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
  14   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  15   under this Order must be clearly so designated before the material is disclosed or
  16   produced.
  17           Designation in conformity with this Order requires:
  18                 (a)     for information in documentary form (e.g., paper or electronic
  19   documents, but excluding transcripts of depositions or other pretrial or trial
  20   proceedings), that the Producing Party affix at a minimum, the legend
  21   “CONFIDENTIAL” (the “CONFIDENTIAL legend”) or “HIGHLY
  22   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” (the “HIGHLY
  23   CONFIDENTIAL legend”), to each page that contains protected material. If only a
  24   portion or portions of the material on a page qualifies for protection, the Producing
  25   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
  26   markings in the margins).
  27           A Party or Non-Party that makes original documents available for inspection
  28   need not designate them for protection until after the inspecting Party has indicated
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   1   which documents it would like copied and produced. During the inspection and
   2   before the designation, all of the material made available for inspection shall be
   3   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
   4   documents it wants copied and produced, the Producing Party must determine which
   5   documents, or portions thereof, qualify for protection under this Order. Then, before
   6   producing the specified documents, the Producing Party must affix the
   7   “CONFIDENTIAL legend” or the “HIGHLY CONFIDENTIAL legend” to each
   8   page that contains Protected Material. If only a portion or portions of the material on
   9   a page qualifies for protection, the Producing Party also must clearly identify the
  10   protected portion(s) (e.g., by making appropriate markings in the margins).
  11                 (b)   for testimony given in depositions, the page numbers of the
  12   transcript as well as any exhibits attached thereto. The entire transcript shall be
  13   treated as Protected Material for thirty (30) days following receipt by all Parties of
  14   the transcript. Any party wishing to designate portions of the transcript or the
  15   exhibits attached thereto as Protected Material must do so within those thirty (30)
  16   days.
  17                 (c)   for information produced in some form other than documentary
  18   and for any other tangible items, that the Producing Party affix in a prominent place,
  19   for example, within the title of a document produced in native format or on the
  20   exterior of the container or containers in which the information is stored the legend
  21   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  22   ONLY.” If only a portion or portions of the information warrants protection, the
  23   Producing Party, to the extent practicable, shall identify the protected portion(s).
  24           5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  25   failure to designate qualified information or items does not, standing alone, waive the
  26   Designating Party’s right to secure protection under this Order for such material.
  27   Upon timely correction of a designation, the Receiving Party must make reasonable
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   1   efforts to assure that the material is treated in accordance with the provisions of this
   2   Order.
   3   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
   4           6.1   Timing of Challenges. Any Party or Non-Party may challenge a
   5   designation of confidentiality at any time that is consistent with the Court’s
   6   Scheduling Order (ECF No. 44).
   7           6.2   Meet and Confer. The Challenging Party shall initiate the dispute
   8   resolution process under Local Rule 37.1.
   9           6.3   The burden of persuasion in any such challenge proceeding shall be on
  10   the Designating Party. Frivolous challenges, and those made for an improper
  11   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  12   parties) may expose the Challenging Party to sanctions. Unless the Designating
  13   Party has waived or withdrawn the confidentiality designation, all parties shall
  14   continue to afford the material in question the level of protection to which it is
  15   entitled under the Producing Party’s designation until the Court rules on the
  16   challenge.
  17   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
  18           7.1   Basic Principles. A Receiving Party may use Protected Material that is
  19   disclosed or produced by another Party or by a Non-Party in connection with this
  20   Action only for prosecuting, defending, or attempting to settle this Action. Such
  21   Protected Material may be disclosed only to the categories of persons and under the
  22   conditions described in this Order. When the Action has been terminated, a
  23   Receiving Party must comply with the provisions of Section 13 below (FINAL
  24   DISPOSITION).
  25           Protected Material must be stored and maintained by a Receiving Party at a
  26   location and in a secure manner that ensures that access is limited to the persons
  27   authorized under this Order.
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   1           7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
   2   otherwise ordered by the court or permitted in writing by the Designating Party, a
   3   Receiving Party may disclose any information or item designated
   4   “CONFIDENTIAL” only to:
   5                 (a)   the Receiving Party’s Outside Counsel of Record in this Action,
   6   as well as employees of said Outside Counsel of Record to whom it is reasonably
   7   necessary to disclose the information for this Action;
   8                 (b)   the officers, directors, and employees (including House Counsel)
   9   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
  10                 (c)   Experts (as defined in this Order) of the Receiving Party to whom
  11   disclosure is reasonably necessary for this Action and who have signed the
  12   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  13                 (d)   the court and its personnel;
  14                 (e)   court reporters and their staff;
  15                 (f)   professional jury or trial consultants, mock jurors, and
  16   Professional Vendors to whom disclosure is reasonably necessary for this Action and
  17   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  18                 (g)   the author or recipient of a document containing the information
  19   or a custodian or other person who otherwise possessed or knew the information;
  20                 (h)   during their depositions, witnesses, and attorneys for witnesses, in
  21   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
  22   party requests that the witness sign the form attached as Exhibit 1 hereto; and
  23   (2) they will not be permitted to keep any confidential information unless they sign
  24   the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  25   agreed by the Designating Party or ordered by the court. Pages of transcribed
  26   deposition testimony or exhibits to depositions that reveal Protected Material may be
  27   separately bound by the court reporter and may not be disclosed to anyone except as
  28   permitted under this Stipulated Protective Order; and
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   1                  (i)   any mediator or settlement officer, and their supporting
   2   personnel, mutually agreed upon by any of the parties engaged in settlement
   3   discussions.
   4           7.3    Disclosure of “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
   5   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
   6   writing by the Designating Party, a Receiving Party may disclose any information or
   7   item designated “HIGHLY CONFIDENTIAL” only to:
   8           (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
   9   employees of said Outside Counsel of Record to whom it is reasonably necessary to
  10   disclose the information for this Action;
  11           (b) Experts (as defined in this Order) of the Receiving Party to whom
  12   disclosure is reasonably necessary for this Action and who have signed the
  13   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  14           (c) the court and its personnel;
  15           (d) private court reporters and their staff to whom disclosure is reasonably
  16   necessary for this Action and who have signed the “Acknowledgment and
  17   Agreement to Be Bound” (Exhibit A);
  18           (e) professional jury or trial consultants, mock jurors, and Professional
  19   Vendors to whom disclosure is reasonably necessary for this Action and who have
  20   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  21           (f) the author or recipient of a document containing the information or a
  22   custodian or other person who otherwise possessed or knew the information; and
  23           (g) any mediator or settlement officer, and their supporting personnel,
  24   mutually agreed upon by any of the parties engaged in settlement discussions.
  25   8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
  26   OTHER LITIGATION
  27           If a Party is served with a subpoena or a court order issued in other litigation
  28   that compels disclosure of any information or items designated in this Action as
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   1   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   2   ONLY,” that Party must:
   3                 (a)    promptly notify in writing the Designating Party. Such
   4   notification shall include a copy of the subpoena or court order;
   5                 (b)    promptly notify in writing the party who caused the subpoena or
   6   order to issue in the other litigation that some or all of the material covered by the
   7   subpoena or order is subject to this Protective Order. Such notification shall include
   8   a copy of this Stipulated Protective Order; and
   9                 (c)    cooperate with respect to all reasonable procedures sought to be
  10   pursued by the Designating Party whose Protected Material may be affected.
  11           If the Designating Party timely seeks a protective order, the Party served with
  12   the subpoena or court order shall not produce any information designated in this
  13   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
  14   EYES ONLY” before a determination by the court from which the subpoena or order
  15   issued, unless the Party has obtained the Designating Party’s permission. The
  16   Designating Party shall bear the burden and expense of seeking protection in that
  17   court of its confidential material and nothing in these provisions should be construed
  18   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
  19   directive from another court.
  20   9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  21   PRODUCED IN THIS LITIGATION
  22                 (a)    The terms of this Order are applicable to information produced by
  23   a Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
  24   CONFIDENTIAL -- ATTORNEYS’ EYES ONLY.” Such information produced by
  25   Non-Parties in connection with this litigation is protected by the remedies and relief
  26   provided by this Order. Nothing in these provisions should be construed as
  27   prohibiting a Non-Party from seeking additional protections.
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   1                 (b)    In the event that a Party is required, by a valid discovery request,
   2   to produce a Non-Party’s confidential information in its possession, and the Party is
   3   subject to an agreement with the Non-Party not to produce the Non-Party’s
   4   confidential information, then the Party shall:
   5                        (1)   promptly notify in writing the Requesting Party and the
   6   Non-Party that some or all of the information requested is subject to a confidentiality
   7   agreement with a Non-Party;
   8                        (2)   promptly provide the Non-Party with a copy of the
   9   Stipulated Protective Order in this Action, the relevant discovery request(s), and a
  10   reasonably specific description of the information requested; and
  11                        (3)   make the information requested available for inspection by
  12   the Non-Party, if requested.
  13                 (c)    If the Non-Party fails to seek a protective order from this court
  14   within 14 days of receiving the notice and accompanying information, the Receiving
  15   Party may produce the Non-Party’s confidential information responsive to the
  16   discovery request. If the Non-Party timely seeks a protective order, the Receiving
  17   Party shall not produce any information in its possession or control that is subject to
  18   the confidentiality agreement with the Non-Party before a determination by the court.
  19   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
  20   of seeking protection in this court of its Protected Material.
  21   10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  22           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  23   Protected Material to any person or in any circumstance not authorized under this
  24   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  25   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  26   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  27   persons to whom unauthorized disclosures were made of all the terms of this Order,
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   1   and (d) request such person or persons to execute the “Acknowledgment and
   2   Agreement to Be Bound” that is attached hereto as Exhibit A.
   3   11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   4   PROTECTED MATERIAL
   5           When a Producing Party gives notice to Receiving Parties that certain
   6   inadvertently produced material is subject to a claim of privilege or other protection,
   7   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   8   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
   9   may be established in an e-discovery order that provides for production without prior
  10   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  11   parties reach an agreement on the effect of disclosure of a communication or
  12   information covered by the attorney-client privilege or work product protection, the
  13   parties may incorporate their agreement in the stipulated protective order submitted
  14   to the court.
  15   12.     MISCELLANEOUS
  16           12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  17   person to seek its modification by the Court in the future.
  18           12.2 Right to Assert Other Objections. By stipulating to the entry of this
  19   Protective Order no Party waives any right it otherwise would have to object to
  20   disclosing or producing any information or item on any ground not addressed in this
  21   Stipulated Protective Order. Similarly, no Party waives any right to object on any
  22   ground to use in evidence of any of the material covered by this Protective Order.
  23           12.3 Filing Protected Material. A Party that seeks to file under seal any
  24   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  25   only be filed under seal pursuant to a court order authorizing the sealing of the
  26   specific Protected Material at issue. If a Party’s request to file Protected Material
  27   under seal is denied by the court, then the Receiving Party may file the information
  28   in the public record unless otherwise instructed by the court.
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   1   13.     FINAL DISPOSITION
   2           After the final disposition of this Action, as defined in Section 4, within 60
   3   days of a written request by the Designating Party, each Receiving Party must either
   4   return all Protected Material to the Producing Party or destroy such material at the
   5   election of the Designating Party. As used in this subdivision, “all Protected
   6   Material” includes all copies, abstracts, compilations, summaries, and any other
   7   format reproducing or capturing any of the Protected Material. Whether the
   8   Protected Material is returned or destroyed, the Receiving Party must submit a
   9   written certification to the Producing Party (and, if not the same person or entity, to
  10   the Designating Party) by the 60 day deadline that (1) identifies (by category, where
  11   appropriate) all the Protected Material that was returned or destroyed and (2) affirms
  12   that the Receiving Party has not retained any copies, abstracts, compilations,
  13   summaries or any other format reproducing or capturing any of the Protected
  14   Material. Notwithstanding this provision, Counsel are entitled to retain an archival
  15   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
  16   memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
  17   work product, and consultant and expert work product, even if such materials contain
  18   Protected Material. Any such archival copies that contain or constitute Protected
  19   Material remain subject to this Protective Order as set forth in Section 4
  20   (DURATION).
  21   14.     Any violation of this Order may be punished by any and all appropriate
  22   measures including, without limitation, contempt proceedings and/or monetary
  23   sanctions.
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///
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                                                                   STIPULATED PROTECTIVE ORDER
                                                                       Case No. 8:21-cv-01092-CJC-ADS
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Case 8:21-cv-01092-CJC-ADS Document 51 Filed 12/06/21 Page 15 of 20 Page ID #:337



   1           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   2
   3   DATED: November 17, 2021           STROOCK & STROOCK & LAVAN LLP
                                          ARJUN P. RAO
   4
                                          MARCOS D. SASSO
   5                                      BRYAN D. TRADER
   6
   7                                      By:           /s/ Marcos D. Sasso
   8                                                       Marcos D. Sasso

   9                                      Attorneys for Defendant
  10                                          CITIBANK, N.A.

  11   DATED: November 17, 2021          LOKER LAW, APC
  12                                     MATTHEW M. LOKER

  13
  14                                     By:           /s/ Matthew M. Loker
                                                         Matthew M. Loker
  15
  16                                     Attorneys for Plaintiff
                                             ANTHONY AHN, BY AND THROUGH
  17
                                             HIS GUARDIAN, JAMIE HONG
  18
  19   DATED: November 17, 2021           JONES DAY
  20                                      KATHERINE A. NEBEN
  21
  22                                      By:
  23                                                   /s/ Katherine A. Neben
                                                          Katherine A. Neben
  24
  25                                      Attorneys for Defendant
                                              EXPERIAN INFORMATION
  26                                          SOLUTIONS, INC.
  27
  28
                                            -14-
                                                           STIPULATED PROTECTIVE ORDER
                                                               Case No. 8:21-cv-01092-CJC-ADS
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   1   DATED: November 17, 2021          HOLLAND & KNIGHT LLP
                                         ZACHARY C. FRAMPTON
   2
   3
   4                                     By:          /s/ Zachary C. Frampton
                                                        Zachary C. Frampton
   5
   6                                     Attorneys for Defendant
                                             DISCOVER BANK
   7
   8
       DATED: November 17, 2021           MCGUIRE WOODS LLP
   9                                      E. CHRISTINE HEHIR
  10
  11                                      By:          /s/ E. Christine Hehir
  12                                                       E. Christine Hehir
  13
                                          Attorneys for Defendant
  14                                          BANK OF AMERICA, N.A.
  15
       DATED: November 17, 2021          DOLL AMIR & ELEY LLP
  16                                     AMY I. BORLUND
                                         HUNTER R. ELEY
  17
  18
  19                                     By:            /s/ Amy I. Borlund
                                                          Amy I. Borlund
  20
  21                                     Attorneys for Defendant
                                              CAPITAL ONE BANK (USA) N.A.
  22
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                                                          STIPULATED PROTECTIVE ORDER
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   1 DATED: November 17, 2021            MESSER STRICKLER LTD
                                         JUNE D. COLEMAN
   2
   3
   4                                     By:           /s/ June D. Coleman
                                                         June D. Coleman
   5
   6                                     Attorneys for Defendant
                                              JHPDE Finance I, LLC
   7
   8   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   9
  10
       Dated:        December 6, 2021            /s/ Autumn D. Spaeth
  11                                      HONORABLE AUTUMN D. SPAETH
                                          United States Magistrate Judge
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                                                          STIPULATED PROTECTIVE ORDER
                                                              Case No. 8:21-cv-01092-CJC-ADS
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   1                                         EXHIBIT A
   2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3           I, ____________________________ [print or type full name], of
   4   _______________________ [print or type full address], declare under penalty of
   5   perjury that I have read in its entirety and understand the Stipulated Protective Order
   6   that was issued by the United States District Court for the Central District of
   7   California on [date] in the case of Anthony Ahn By And Through His Guardian
   8   Jamie Hong v. Bank of American, N.A., et al., Case No. 8:20-cv-01092-CJC-ADS. I
   9   agree to comply with and to be bound by all the terms of this Stipulated Protective
  10   Order and I understand and acknowledge that failure to so comply could expose me
  11   to sanctions and punishment in the nature of contempt. I solemnly promise that I
  12   will not disclose in any manner any information or item that is subject to this
  13   Stipulated Protective Order to any person or entity except in strict compliance with
  14   the provisions of this Order. I further agree to submit to the jurisdiction of the
  15   United States District Court for the Central District of California for the purpose of
  16   enforcing the terms of this Stipulated Protective Order, even if such enforcement
  17   proceedings occur after termination of this action. I hereby appoint
  18   _____________________________ [print or type full name] of
  19   ____________________________________ [print or type full address and telephone
  20   number] as my California agent for service of process in connection with this action
  21   or any proceedings related to enforcement of this Stipulated Protective Order.
  22
  23   Date:____________________________
  24   City and State where sworn and signed:____________________________________
  25
  26   Printed name:_______________________
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                                                                  STIPULATED PROTECTIVE ORDER
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   1                           ECF SIGNATURE CERTIFICATION
   2           Pursuant to Local Rule 5-4.3.4(a)(2), I hereby certify that the content of this
   3   document is acceptable to Matthew M. Loker, Attorneys for Plaintiff Anthony Ahn,
   4   Katherine A. Neben, Attorneys for Defendant Experian Information Solutions, Inc.,
   5   Zachary C. Frampton, Attorneys for Defendant Discover Bank, E. Christine Hehir,
   6   Attorneys for Defendant Bank of American, N.A., Amy I. Borlund, Attorneys for
   7   Defendant Capital One Bank (USA) N.A. and June D. Coleman, Attorneys for
   8   Defendant JHPDE Finance I, LLC and that all counsel have provided their
   9   authorizations to affix their electronic signatures to this document.
  10
  11    Dated: November 17, 2021                                /s/ Marcos D. Sasso
                                                                  Marcos D. Sasso
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                                                                    ECF SIGNATURE CERTIFICATION
                                                                      Case No. 8:21-cv-01092-CJC-ADS
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   1                              CERTIFICATE OF SERVICE
   2           I hereby certify that on November 17, 2021, a copy of the foregoing
   3   STIPULATED PROTECTIVE ORDER was filed electronically and served by
   4   mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
   5   e-mail to all parties by operation of the court’s electronic filing system or by mail to
   6   anyone unable to accept electronic filing as indicated on the Notice of Electronic
   7   Filing. Parties may access this filing through the court’s CM/ECF System.
   8
   9                                                       /s/ Marcos D. Sasso
                                                             Marcos D. Sasso
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                                                                          CERTIFICATE OF SERVICE
                                                                      Case No. 8:21-cv-01092-CJC-ADS
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